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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

   CHERYL WEIMAR and
   KARL WEIMAR,

          Plaintiffs,

   v.                                                  Case No.: 3:19-cv-1137-J-20MCR

   THE FLORIDA DEPARTMENT
   OF CORRECTIONS, an agency of
   the State of Florida,
   JOHN DOE 1, an individual
   JOHN DOE 2, an individual
   JOHN DOE 3, an individual, and
   JOHN DOE 4, an individual,

         Defendants.
   ____________________________/

                         DEFENDANT’S ANSWER AND DEFENSES
                         TO THE FIRST AMENDED COMPLAINT

          The Defendant, State of Florida, Department of Corrections, answers and files its

   defenses to the first amended complaint brought by the Plaintiffs, Cheryl Weimar and Karl

   Weimar, and says:

          1.      The Defendant admits the subject matter jurisdiction of this Court, but denies

   any allegation of wrongdoing by the Defendant pled or implied in the first sentence of

   paragraph 1 of the first amended complaint. The Defendant admits that the Plaintiff Cheryl

   Weimar is an inmate under the control and custody of the Defendant. The Defendant is

   without knowledge of the remaining allegations contained in the second sentence of

   paragraph 1 of the first amended complaint. The Defendant is without knowledge of the
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   remaining allegations contained in paragraph 1 of the first amended complaint, but denies

   any allegation of wrongdoing by the Defendant pled or implied in those allegations.

          2.      The Defendant admits the subject matter jurisdiction of this Court.

          3.      The Defendant admits that its principal place of business is in Leon County,

   Florida, and the subject matter jurisdiction of this Court. For the allegations related to the

   unnamed “ADA coordinator” in paragraph 3 of the first amended complaint, the Defendant

   incorporates its responses to paragraphs 36 and 37 of the first amended complaint. For the

   allegations related to the propriety of venue contained in paragraph 3 of the first amended

   complaint, the action has been transferred to the Middle District of Florida, (Doc. 17), and

   therefore the Defendant denies the allegations made by the Plaintiff. The Defendant admits

   the propriety of venue is proper in the Middle District of Florida. The Defendant denies the

   remaining allegations contained in paragraph 3 of the first amended complaint.

          4.      The Defendant is without knowledge of the allegations contained in paragraph

   4 of the first amended complaint.

          5.      The Defendant is without knowledge of the allegations contained in the first

   sentence of paragraph 5 of the first amended complaint. The Defendant denies the allegations

   contained in the second sentence of paragraph 5 of the first amended complaint. The

   allegation regarding the Plaintiff Karl Weimar does not require a response as it draws a legal

   conclusion and the claim is subject to a motion to dismiss.

          6.      The Defendant admits that the Plaintiff Cheryl Weimar is an inmate within the

   custody and control of the Defendant and that she was housed at Lowell Correctional

   Institution. The Defendant further admits the subject matter jurisdiction of this Court, but



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   denies any allegation of wrongdoing by the Defendant pled or implied in paragraph 6 of the

   first amended complaint. The Defendant is without knowledge of the allegations contained in

   the third sentence of paragraph 6 of the first amended complaint.

          7.      The Defendant is without knowledge of the allegations contained in paragraph

   7 of the first amended complaint.

          8.      The Defendant admits the allegations contained in the first sentence of

   paragraph 8 of the first amended complaint. The Defendant admits that it is headquartered in

   Leon County, Florida. For the allegations related to the propriety of venue contained in the

   second sentence of paragraph 8 of the first amended complaint, the action has been

   transferred to the Middle District of Florida, (Doc. 17), and therefore the Defendant denies

   the allegations made by the Plaintiff. The Defendant admits the propriety of venue is proper

   in the Middle District of Florida. The Defendant admits that it owns and operates Lowell

   Correctional Institution and that the Plaintiff was incarcerated at that institution until August

   21, 2019 when she was transported to receive medical care at a hospital. The Defendant is

   without knowledge of the remaining allegations contained in the third sentence of paragraph

   8 of the first amended complaint, but denies any allegation of wrongdoing by the Defendant

   pled or implied in that sentence.

          9.      The Defendant is without knowledge of the allegations contained in paragraph

   9 of the first amended complaint.

          10.     The Defendant admits that during the August 21, 2019 incident alleged in the

   pleading that the Plaintiff was incarcerated at Lowell Correctional Institution. The Defendant




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   is without knowledge of the remaining allegations contained in paragraph 10 of the first

   amended complaint.

          11.    The Defendant admits the allegations contained in the first sentence of

   paragraph 11 of the first amended complaint. The Defendant denies the allegations contained

   in the second sentence of paragraph 11 of the first amended complaint.

          12.    The Defendant is without knowledge of the allegations contained in paragraph

   12 of the first amended complaint.

          13.    The Defendant is without knowledge of the allegations contained in paragraph

   13 of the first amended complaint.

          14.    The Defendant denies the allegations contained in paragraph 14 of the first

   amended complaint.

          15.    The Defendant admits that the Plaintiff was on prison work duty on August

   21, 2019. The Defendant is without knowledge of the “incident” alleged in paragraph 15 of

   the first amended complaint. The Defendant denies the remaining allegations contained in

   paragraph 15 of the first amended complaint.

          16.    The Defendant admits that one of the work assignment duties the Plaintiff

   would have been assigned is to clean the toilets at the Lowell Correctional Institution work

   camp. The Defendant is without knowledge of the allegations regarding “Among other

   duties” contained in paragraph 16 of the first amended complaint. The Defendant denies the

   remaining allegations contained in paragraph 16 of the first amended complaint.




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          17.     The Defendant is without knowledge of the allegations contained in the first

   sentence of paragraph 17 of the first amended complaint. The Defendant denies the

   allegations contained in the second sentence of paragraph 17 of the first amended complaint.

          18.     The Defendant is without knowledge of the allegations contained in paragraph

   18 of the first amended complaint.

          19.     The Defendant is without knowledge of the allegations contained in paragraph

   19 of the first amended complaint.

          20.     The Defendant denies the allegations contained in paragraph 20 of the first

   amended complaint.

          21.     The Defendant denies the allegations contained in paragraph 21 of the first

   amended complaint.

          22.     The Defendant is without knowledge of the allegations contained in paragraph

   22 of the first amended complaint. Specifically, the Plaintiff does not describe the

   confrontation or her alleged declaration of a medical emergency or what medical emergency

   she claims existed.

          23.     The Defendant denies that its employees were “angry, aggressive, and

   violent.” The Defendant is without knowledge of the remaining allegations contained in

   paragraph 23 of the first amended complaint.

          24.     The Defendant is without knowledge of the allegations contained in paragraph

   24 of the first amended complaint. Specifically, the Plaintiff does not describe her alleged

   declaration of a medical emergency or the specific “policy or procedure” she allegedly

   invoked or that the John Doe Defendants did not follow.



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          25.     The Defendant denies that its employees were aggressive or violent with the

   Plaintiff. The Defendant is without knowledge of the remaining allegations contained in

   paragraph 25 of the first amended complaint.

          26.     The Defendant denies the allegations contained in the first sentence of

   paragraph 26 of the first amended complaint. The Defendant is without knowledge of the

   allegations contained in the second sentence of paragraph 26 of the first amended complaint.

          27.     The Defendant is without knowledge of the allegations contained in paragraph

   27 of the first amended complaint. Specifically, the Plaintiff does not describe her alleged

   declaration of a psychological emergency or the specific “policy or procedure” she allegedly

   invoked.

          28.     The Defendant is without knowledge of the allegations contained in paragraph

   28 of the first amended complaint.

          29.     The Defendant denies the allegations contained in paragraph 29 of the first

   amended complaint.

          30.     The Defendant denies the allegations contained in paragraph 30 of the first

   amended complaint.

          31.     The Defendant denies the allegations contained in paragraph 31 of the first

   amended complaint.

          32.     The Defendant is without knowledge of the allegations contained in paragraph

   32 of the first amended complaint. Specifically, the Plaintiff does not identify the “inmates,”

   “employees,” “security staff,” or “[o]ne of the John Doe Defendants” referenced in paragraph

   32 of the first amended complaint.



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          33.     The Defendant denies the allegations contained in the first sentence of

   paragraph 33 of the first amended complaint. The Defendant is without knowledge of the

   allegations contained in the second paragraph 31 of the first amended complaint.

          34.     The Defendant denies that there was a “brutal attack,” and “unlawful beating,”

   or “inmate abuse.” The Defendant admits that the Plaintiff Cheryl Weimar is currently

   receiving care at a hospital. The Defendant is without knowledge of the remaining allegations

   contained in paragraph 34 of the first amended complaint.

          35.     The Defendant denies the allegations contained in paragraph 35 of the first

   amended complaint.

          36.     The Defendant denies the allegations contained in paragraph 36 of the first

   amended complaint as stated. Answering further, to the extent the Plaintiff alleges the job

   duties of an unnamed “ADA Coordinator,” those duties would be contained in a written job

   description that speaks for itself. Pursuant to Florida Administrative Code Rule 33-210.201,

   the determination of whether an inmate has a disability shall be made by department medical

   staff, either at reception or at the institution where the inmate is assigned. Pursuant to Florida

   Administrative Code Rule 33-210.201, ADA requests for accommodations from inmates are

   reviewed by an Institutional ADA Coordinator who renders a recommendation to approve,

   deny, modify, or return without action. The Central Office ADA Coordinator reviews the

   request and notifies the Institutional ADA Coordinator whether he or she concurs or

   disagrees with the Institutional ADA Coordinator’s recommendation. The Defendant

   maintains electronic copies of accommodation requests in its Central Office that are received




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   from the institutions, and the Central Office ADA decision is sent to the institution via email

   for it to be handled and filed as per the applicable administrative rules and procedures

          37.     The Defendant denies the allegations contained in paragraph 37 of the first

   amended complaint as stated. Answering further, pursuant to Florida Administrative Code

   Rule 33-210.201, the “process” for requesting an accommodation or modification by inmates

   involves Institutional ADA Coordinators who are designated to respond to requests for

   accommodation and render decisions. As the Institutional ADA Coordinators are staff

   members at the institution itself, the “process” may take place outside of Tallahassee,

   Florida.

          38.     The Defendant makes no response to paragraphs 38 through 44 of the first

   amended complaint because they only apply to John Doe Defendants who, upon information

   and belief, have not been served.

          39.     In response to paragraph 45 of the first amended complaint, the Defendant

   repeats its responses to paragraphs 1 through 37 of the first amended complaint.

          40.     In response to paragraph 46 of the first amended complaint, the Defendant

   admits the subject matter jurisdiction of this Court.

          41.     The Americans with Disabilities Act speaks for itself and therefore the

   Defendant denies the allegations contained in paragraph 47 of the first amended complaint.

          42.     The Defendant admits the allegations contained in paragraph 48 of the first

   amended complaint.

          43.     The Defendant is without knowledge of the allegations contained in paragraph

   49 of the first amended complaint.



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          44.    The Defendant is without knowledge of the allegations contained in paragraph

   50 of the first amended complaint.

          45.    The Defendant is without knowledge of the allegations contained in paragraph

   51 of the first amended complaint.

          46.    The Defendant denies the allegations contained in paragraph 52 of the first

   amended complaint.

          47.    The Defendant is without knowledge of the allegations contained in paragraph

   53 of the first amended complaint.

          48.    The Defendant denies the allegations contained in paragraph 54 of the first

   amended complaint.

          49.    The Defendant denies the allegations contained in paragraph 55 of the first

   amended complaint.

          50.    The Defendant denies the allegations contained in paragraph 56 of the first

   amended complaint.

          51.    The Defendant denies the allegations contained in paragraph 57 of the first

   amended complaint.

          52.    The Defendant denies the allegations contained in paragraph 58 of the first

   amended complaint.

          53.    The Defendant denies the allegations contained in paragraph 59 of the first

   amended complaint.

          54.    The Defendant denies the allegations contained in paragraph 60 of the first

   amended complaint.



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           55.     The Defendant denies the allegations contained in paragraph 61 and

    subparagraphs a. through d. of the first amended complaint.

           56.     The Defendant denies the allegations contained in paragraph 62 of the first

    amended complaint.

           57.     The Defendant denies the allegations contained in paragraph 63 of the first

    amended complaint. The Defendant denies the prayer for relief contained in the unnumbered

    wherefore paragraph which follows paragraph 63 of the first amended complaint.

           58.     In response to paragraph 64 of the first amended complaint, the Defendant

    repeats its responses to paragraphs 1 through 37 of the first amended complaint.

           59.     In response to paragraph 65 of the first amended complaint, the Defendant

    admits the subject matter jurisdiction of this Court.

           60.     The Rehabilitation Act speaks for itself and therefore the Defendant denies the

    allegations contained in paragraph 66 of the first amended complaint.

           61.     The Defendant admits the allegations contained in paragraph 67 of the first

    amended complaint.

           62.     The Defendant denies the allegations contained in paragraph 68 of the first

    amended complaint.

           63.     The Defendant denies the allegations contained in paragraph 69 of the first

    amended complaint.

           64.     The Defendant denies the allegations contained in paragraph 70 of the first

    amended complaint.




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           65.     The Defendant denies the allegations contained in paragraph 71 of the first

    amended complaint.

           66.     The Defendant denies the allegations contained in paragraph 72 of the first

    amended complaint.

           67.     The Defendant denies the allegations contained in paragraph 73 of the first

    amended complaint. The Defendant denies the prayer for relief contained in the unnumbered

    wherefore paragraph which follows paragraph 73 of the first amended complaint.

           68.     In response to paragraph 74 of the first amended complaint, the Defendant

    repeats its answers to paragraphs 1 through 73 of the first amended complaint.

           69.     The allegations contained in paragraph 75 of the first amended complaint

    regarding the Plaintiff Karl Weimar do not require a response as they draw a legal conclusion

    and are subject to a motion to dismiss.

           70.     The allegations contained in paragraph 76 of the first amended complaint

    regarding the Plaintiff Karl Weimar do not require a response as they draw a legal conclusion

    and are subject to a motion to dismiss.

           71.     The allegations contained in paragraph 77 of the first amended complaint

    regarding the Plaintiff Karl Weimar do not require a response as they draw a legal conclusion

    and are subject to a motion to dismiss.

           72.     The allegations contained in paragraph 78 of the first amended complaint

    regarding the Plaintiff Karl Weimar do not require a response as they draw a legal conclusion

    and are subject to a motion to dismiss.




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           73.     The allegations contained in paragraph 79 of the first amended complaint

    regarding the Plaintiff Karl Weimar and the prayer for relief contained in the unnumbered

    wherefore paragraph which follows paragraph 79 of the first amended complaint do not

    require a response as they draw a legal conclusion and are subject to a motion to dismiss.

                                             DEFENSES

           74.     First defense. As a defense to Count II of the first amended complaint, the

    Defendant says that the Plaintiff Cheryl Weimar has failed to state a claim upon which relief

    may be granted under Title II of the Americans with Disabilities Act because she has failed

    to plead sufficient facts that demonstrate that she was a qualified individual with a disability,

    that she was excluded from participation in or denied the benefits of the Defendant’s

    services, programs, or activities, or otherwise discriminated against by the Defendant, and

    that the alleged exclusion, denial, or discrimination was by reason of her alleged disability.

           75.     Second defense. As a defense to Count III of the first amended complaint, the

    Defendant says that the Plaintiff Cheryl Weimar has failed to state a claim upon which relief

    may be granted under the Rehabilitation Act because she has failed to plead sufficient facts

    that demonstrate she is a qualified individual with a disability who has solely by reason of

    that alleged disability been excluded from the participation in, denied benefits of, or

    otherwise been subjected to discrimination under any program or activity receiving Federal

    financial assistance.

           76.     Third defense. As a defense to Counts II and III of the first amended

    complaint, the Defendant says that the Plaintiff Cheryl Weimar has failed to state a claim

    upon which relief may be granted under the ADA or Rehabilitation Act because she has



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    failed to alleged sufficient facts to demonstrate that the Defendant acted with deliberate

    indifference.

                                               Respectfully submitted,

                                               /s/Thomas M. Gonzalez
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                                               Attorneys for the Defendant

                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been

    furnished this 8th day of October, 2019, by CM/ECF electronic filing to the Clerk of Court

    and to the following:

    Ryan J. Andrews
    John M. Vernaglia
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                                               /s/ Thomas M. Gonzalez
                                               Attorney




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